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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA


 FNU BRUNHILDA,                              )
                                             )
                 Plaintiff,                  )
                                             ) Case No. 0:21-cv-01299-PJS-DTS
          vs.                                )
                                             )
 PURDUE UNIVERSITY GLOBAL and                )
 INDIANA COMMISSION OF HIGHER                )
 EDUCATION,                                  )
                                             )
                 Defendants.                 )



                 [PROPOSED] ORDER GRANTING DEFENDANT’S
          MOTION TO CERTIFY DISPOSITIVE ISSUE FOR INTERLOCUTORY
              APPEAL AND STAY PROCEEDINGS PENDING APPEAL

         Defendant Purdue University Global, Inc. (“Defendant Purdue Global”) has filed a Motion

to Certify Dispositive Issue for Interlocutory Appeal and Stay Proceedings Pending Appeal. Good

cause being shown, IT IS HEREBY ORDERED that:

         1) Defendant Purdue Global’s personal jurisdiction defense is hereby certified for

            interlocutory appeal pursuant to 28 U.S.C. § 1292(b), and

         2) this matter is hereby stayed pending the outcome of the appeal including all current

            case management deadlines are vacated.

                                                     BY THE COURT:


Dated:                        , 2022                 ____________________________________
                                                     Judge, U.S. District Court, District of
                                                     Minnesota
